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 3
 4
 5                      UNITED STATES DISTRICT COURT
 6                     EASTERN DISTRICT OF CALIFORNIA
 7
                                      )       1:04-cv-06490        OWW JLD
 8   MICHAEL NEVEAU,                  )
                                      )       AMENDED
 9                  Plaintiff,        )       MEMORANDUM DECISION AND
                                      )       ORDER RE DEFENDANTS’
10        v.                          )
                                      )       (1) MOTION TO DISMISS
11   CITY OF FRESNO, a municipality; )        PURSUANT TO FED. R. CIV. P.
     JERRY DYER, individually;        )       12(b)(6);
12   MICHAEL GUTHRIE, individually;   )
     GREG GARNER, individually;       )       (2) MOTION FOR A MORE
13   DARREL FIFIELD, individually;    )       DEFINITE STATEMENT PURSUANT
     MARTY WEST, individually;        )       TO FED. R. CIV. P. 12(e);
14   ROGER ENMARK, individually; and )        AND
     DOES 1 through 10,               )
15                                    )       (3) MOTION TO STRIKE
                                      )       PORTIONS OF THE SECOND
16                  Defendants.       )       AMENDED COMPLAINT PURSUANT
                                      )       TO FED. R. CIV. P. 12(f).
17   ________________________________ )
18
19
20
                              I.    INTRODUCTION
21
22
          This is a civil rights action by a City of Fresno police
23
     officer against the City of Fresno and several individual members
24
     of the City of Fresno Police Department.      Michael Neveu
25
     (“Plaintiff”) brings a civil rights claim under 42 U.S.C. § 1983
26
     and under two California state “whistleblower” statutes.
27
     Defendants CITY OF FRESNO, JERRY DYER, MICHAEL GUTHRIE, GREG
28

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 1   GARNER, DARREL FIFIELD, MARTY WEST, and ROGER ENMARK
 2   (“Defendants”) move to dismiss Plaintiff’s Third Amended
 3   Complaint.   (Doc. 41 Defs.’ Mot.; Doc. 42, Defs.’ Mem.)
 4   Plaintiff opposes the motion.      (Doc. 47, Pl.’s Opp.)
 5
 6                        II.       PROCEDURAL HISTORY
 7
 8        Plaintiff filed his original complaint on November 1, 2004.
 9   (Doc. 1, Compl.)   Plaintiff filed the operative Third Amended
10   Complaint on July 25, 2005.      (Doc. 39, Third Am. Compl.)
11   Plaintiff’s Third Amended Complaint contains three claims, all
12   which arise out of Plaintiff’s complaint that Defendants
13   retaliated against him for having reported sexual misconduct,
14   racial harassment, and cheating on police department promotional
15   exams: (1) 42 U.S.C. § 1983 (first amendment retaliation);
16   (2) Cal. Labor Code § 1102.5 (whistleblower retaliation); and
17   (3) Cal. Gov. Code § 53298 (whistleblower retaliation).
18   Defendants seek to dismiss various claims and to strike
19   allegations contained in the Third Amended Complaint.           (Doc. 42,
20   Defs.’ Mem.)   Plaintiff filed opposition on September 16, 2005.
21   (Doc. 47, Pl.’s Opp.)   Defendants replied on September 26, 2005.
22   (Doc. 48, Defs.’ Reply)
23        Oral argument was heard on October 3, 2005.          Michael A.
24   Morguess, Esq., appeared on behalf of Plaintiff.          Joseph D.
25   Rubin, Esq., appeared on behalf of Defendants.
26
27                       III.   SUMMARY OF PLEADINGS
28

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 1        This civil rights action is brought by a Fresno City police
 2   officer against the City of Fresno, the Fresno Police Chief, and
 3   five individual Fresno City Police officers.        Plaintiff brings
 4   his § 1983 claim based on an alleged violation of his first
 5   amendment right to freedom of expression.       Plaintiff claims he
 6   was retaliated against for reporting to his superiors a number of
 7   incidents of sexual harassment, racial discrimination, and
 8   cheating on police department exams.     The allegations in the
 9   complaint are taken as true for the purpose of this motion to
10   dismiss.
11        Plaintiff alleges two adverse employment actions.           First,
12   from June 1997 through December 2002, Defendants WEST, FIFIELD,
13   GUTHRIE, and GARNER failed to promote him despite his high
14   qualifications and performance.     Second, in March 2004,
15   Defendants DYER, ENMARK, and GUTHRIE placed Plaintiff on
16   administrative leave and required Plaintiff to undergo
17   psychological examinations to determine his fitness for duty.
18   Despite the recommendations of three psychologists that he was
19   fit for duty, Defendants refused to reinstate him to duty in July
20   2004.1
21        Plaintiff claims he was retaliated against for four
22   allegedly protected first amendment activities.         These
23   allegations are addressed in greater detail in the July 2005
24   order granting in part Defendants’ motion to dismiss.           (Doc. 35,
25   “July 2005 Order”)    First, Plaintiff reported alleged sexual
26   misconduct by Richard Mata, a suspended police department
27
28        1
              Plaintiff has since been reinstated to duty.

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 1   official who was under investigation for improper sexual behavior
 2   towards a minor.   Plaintiff alleges that Internal Affairs asked
 3   Plaintiff to report to their office in writing any information he
 4   obtained regarding Mata.      WEST instructed Plaintiff not to put
 5   any information regarding Mata in writing or report any
 6   information to Internal Affairs.        Instead, WEST instructed
 7   Plaintiff to report such information verbally to his chain of
 8   command.   Second, Plaintiff alleges that he reported to his
 9   immediate supervisors in writing racial discrimination against
10   Southeast Asian police officers.        Third, Plaintiff submitted an
11   end-of-the year report involving the “banking” of overtime hours.
12   Fourth, Plaintiff testified at an administrative hearing
13   regarding cheating on police promotional exams.
14        Plaintiff’s complaint also contains allegations regarding
15   the CITY’s “policies, customs, practices and decisions” regarding
16   promotions and administrative leave (“employment policies”).
17   (Id. at ¶ 54)   Plaintiff alleges that Chief DYER had policy-
18   making authority over the employment policies and that “DYER used
19   the...FRESNO policies in retaliatory fashion to deprive NEVEU of
20   his rights as specifically alleged.”        (Id.)
21
22                           IV.     LEGAL STANDARD
23
24        Fed. R. Civ. P. 12(b)(6) allows a defendant to attack a
25   complaint for failure to state a claim upon which relief can be
26   granted.   A motion to dismiss under Fed. R. Civ. P. 12(b)(6) is
27   disfavored and rarely granted: “[a] complaint should not be
28   dismissed unless it appears beyond doubt that plaintiff can prove

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 1   no set of facts in support of his claim which would entitle him
 2   to relief.”    Van Buskirk v. CNN, Inc., 284 F.3d 977, 980
 3   (9th Cir. 2002) (citations omitted).       In deciding whether to
 4   grant a motion to dismiss, the court “accept[s] all factual
 5   allegations of the complaint as true and draw[s] all reasonable
 6   inferences in favor of the nonmoving party.”          TwoRivers v. Lewis,
 7   174 F.3d 987, 991 (9th Cir. 1999).
 8        “The court need not, however, accept as true allegations
 9   that contradict matters properly subject to judicial notice or by
10   exhibit.    Nor is the court required to accept as true allegations
11   that are merely conclusory, unwarranted deductions of fact, or
12   unreasonable inferences.”      Sprewell v. Golden State Warriors,
13   266 F.3d 979, 988 (9th Cir. 2001) (citations omitted).             For
14   example, matters of public record may be considered under Fed. R.
15   Civ. P. 201, including pleadings, orders and other papers filed
16   with the court or records of administrative bodies.             See Lee v.
17   City of Los Angeles, 250 F.3d 668, 688 (9th Cir. 2001).
18   Conclusions of law, conclusory allegations, unreasonable
19   inferences, or unwarranted deductions of fact need not be
20   accepted.   See Western Mining Council v. Watt, 643 F.2d 618, 624
21   (9th Cir. 1981).
22
23                               V.     ANALYSIS
24
25        A.     Whether Plaintiff States a Monell Claim Against the
                 CITY Under § 1983.
26
27        Defendants argue that Plaintiff’s § 1983 claim against the
28   CITY should be dismissed because Plaintiff’s factual allegations

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 1   are insufficient to support Monell liability under § 1983.
 2        Under the Supreme Court’s decision in Monell v. Dep’t of
 3   Soc. Svcs. of City of New York, 436 U.S. 658, 694 (1978), a local
 4   government is liable under § 1983 for its policies that cause
 5   constitutional torts.   See also McMillian v. Monroe County, 520
 6   U.S. 781, 785 (1997).   A suit against a local official in his
 7   “official capacity” is the same as a suit against the local
 8   governmental entity itself.    Id. at 785 n. 2; Doe v. Lawrence
 9   Livermore Nat’l Lab., 131 F.3d 836, 839 (9th Cir. 1997) (“a suit
10   against a state official in his official capacity is no different
11   from a suit against the [official’s office or the] State itself”
12   (citing Will v. Mich. Dep’t of State Police, 491 U.S. 58, 70-71
13   (1989))); Ruvalcaba v. City of Los Angeles, 167 F.3d 514, 524 n.3
14   (9th Cir. 1999).
15        A litigant can establish a Monell claim in one of three
16   ways:   “(1) by showing a longstanding practice or custom which
17   constitutes the standard procedure of the local governmental
18   entity; (2) by showing that the decision-making official was, as
19   a matter of state law, a final policymaking authority whose
20   edicts or acts may fairly be said to represent official policy in
21   the area of decision; or (3) by showing that an official with
22   final policymaking authority either delegated that authority to,
23   or ratified the decision of, a subordinate.”        Menotti v. City of
24   Seattle, 409 F.3d 1113, 1147 (9th Cir. 2005) (internal quotations
25   omitted) (quoting Ulrich v. City and County of San Francisco, 308
26   F.3d 968, 985-86 (9th Cir. 2002)).
27        As an initial matter, Plaintiff’s allegations against Chief
28   DYER and his allegations regarding the CITY’s policies, customs,

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 1   and/or practices are confusing.     Paragraph 54 of Plaintiff’s
 2   complaint alleges that:
 3             Chief DYER’S actions, as alleged herein, were
               taken as an official policy maker, and with
 4             the accompanying authority to which DEFENDANT
               FRESNO delegated its governing powers in the
 5             subject matter areas in which these policies
               were promulgated or decisions taken or
 6             customs and practices followed. The acts and
               omissions of DEFENDANT DYER, as alleged
 7             herein, manifested or conformed to official
               policies, customs, practices, or decisions of
 8             DEFENDANT FRESNO, in that FRESNO delegated to
               DYER its policy making authority in all
 9             matters of employment relations within the
               DEPARTMENT, and/or DEFENDANT FRESNO, with
10             knowledge of the afore said [sic] policies,
               customs, practices and decisions of DEFENDANT
11             DYER, approved, ratified and adopted said
               policies, customs, practices and decisions.
12             More specifically, DYER, as the Chief of
               Police, has final official policy making
13             authority with respect to promotions within
               the Police Department, as well as placing
14             officers on administrative leave and
               subjecting them to a fitness for duty
15             examination. Moreover, DEFENDANT DYER acted
               pursuant to FRESNO’s policies on promotions
16             as well as FRESNO’s policy in placing
               employees on administrative leave pending a
17             fitness for duty examination, to which
               DEFENDANT DYER was delegated final official
18             policy making authority over. In doing the
               things it is alleged DEFENDANT DYER has done,
19             DEFENDANT DYER used the aforementioned FRESNO
               policies in retaliatory fashion to deprive
20             NEVEAU of his rights as specifically alleged.
21   (Doc. 37, Third Am. Compl. ¶ 54)       It is not clear, based upon
22   these allegations, whether Plaintiff attempts to allege a claim
23   against the CITY for “a longstanding practice or custom” that led
24   to the alleged violation of Plaintiff’s constitutional rights, or
25   whether Plaintiff attempts instead to allege a Monell claim
26   through one of the other two means, i.e., the constitutional
27   violation was caused by the act of an official with final
28   policymaking authority or by the ratification of unconstitutional

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 1   conduct of subordinates by an official with final policymaking
 2   authority.   Liberally construed, Plaintiff’s allegations appear
 3   to be an attempt to allege a Monell claim in all three ways.
 4        As to the first variation of a Monell claim, Defendant
 5   argues that Plaintiff has failed to allege facts supporting the
 6   existence of a policy.   Plaintiff’s response is that he does
 7   allege the existence of a policy, referring to the allegations
 8   “in paragraph 54 of the Third Amended Complaint that Fresno
 9   maintained policies on promotions as well as placing individuals
10   on administrative leave.”      (Doc. 47, Pl.’s Mem. 5)
11        However, alleging that the CITY maintained official
12   employment policies is not a sufficient basis on which Monell
13   liability can be established.      Plaintiff does not describe what
14   these specific policies are (such as denying promotions to
15   officers who speak out), or how they were used to deprive
16   Plaintiff of his constitutional rights.        Plaintiff’s Monell
17   claim against FRESNO in his Second Amended Complaint was
18   dismissed for the same deficiency.      (Doc. 35, July 2005 Order 30)
19        However, it can be inferred from Plaintiff’s allegations
20   that he attempts to plead the existence of a custom or practice
21   of retaliation (i.e., one that is different from the CITY’s
22   official employment policies).      Although Plaintiff does not make
23   this argument, such an attempt can be inferred from his
24   allegation that defendants WEST, FIFIELD, GUTHRIE, and GARNER
25   purposefully prevented Plaintiff from being promoted and that
26   they “had done similar ‘black listing’ to other officers who
27   spoke up.”   (Doc. 37, Third Am. Compl. ¶ 43)        One isolated
28   reference to blacklisting is not sufficient; however, the claim

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 1   that other officers had been “blacklisted” for speaking out,
 2   although general, is adequate to put defendants on notice of the
 3   claim.     Plaintiff claims that blacklisting was a custom or policy
 4   of the police department.
 5        Plaintiff’s complaint also contains various other factual
 6   allegations that could be construed as constituting a custom or
 7   practice.    For example, the complaint alleges:
 8        (1)    After Plaintiff informed Captain WEST that he was
 9               going to report all sexual allegations or
10               improprieties in writing to Internal Affairs, WEST
11               told Plaintiff that “if [Plaintiff] wanted ‘to
12               play it that way,’ and ‘not be a team player’ with
13               them, that was his choice but there would be
14               consequences.”   (Doc. 37, Third Am. Compl. ¶ 28)
15               The complaint does not describe what the
16               “consequences” are and does not allege that the
17               consequences were part of a custom or practice.
18
19        (2)    Sergeant Montejano advised Plaintiff that “he
20               should not have documented the racial harassment
21               because it caused staff at the Police Activity
22               League to become upset, including retired Deputy
23               Chief Lee Piscola, and that ‘pissing off a retired
24               Chief is a bad career move.’”    (Id. at ¶ 29)
25               Again, there is no further explanation as to
26               Retired Chief Piscola’s involvement in or
27               relationship to the purported retaliation against
28               Plaintiff.   There is no allegation connecting

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 1                Sergeant Montejano’s comment to any purported
 2                custom or practice.
 3
 4        (3)     Chief DYER stated publicly “that he wanted control
 5                over who was promoted” and subsequently introduced
 6                a “practical phase” to the promotions process.
 7                Plaintiff alleges that the “practical phase”
 8                included giving the answers to promotional exams
 9                to those sergeants whom Chief DYER wanted
10                promoted.    (Id. at ¶¶ 32, 33)    Plaintiff further
11                alleges the complaints of other candidates
12                regarding this practice led to a hearing before
13                the Civil Service Commission at which Plaintiff
14                testified.   The defendants are required to draw
15                the inference that such cheating on the
16                promotional exams was part of the Chief’s alleged
17                custom or practice in failing to promote Plaintiff
18                and others who were considered undesirable.
19
20        Neither the Defendants nor the court should be required to
21   guess or add allegations to divine the substance of the policy,
22   custom, or practice that forms the basis of Plaintiff’s Monell
23   claim.     General notice pleading under Rule 8(a) requires only a
24   short and plain statement of the facts.         A complaint must, at the
25   very least, allow Defendants to adequately respond to the
26   allegations against them.      Plaintiff’s complaint contains
27   references to the CITY’s official employment policies, as well as
28   to Plaintiff’s circumstantial encounters with various defendants,

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 1   and to “blacklisting” employees, these conclusory allegations
 2   barely describe any policy, custom, or practice that is
 3   implemented to effect constitutional inquiry.
 4        In his opposition, Plaintiff argues that his complaint
 5   sufficiently alleges a municipal liability claim against DYER
 6   under the second variation by which a Monell claim can be
 7   alleged, i.e., based on a single decision by an official with
 8   final policymaking authority.    A litigant can establish a Monell
 9   claim based upon a single action by a decision-making official
10   with final policymaking authority, Pembaur v. City of Cincinnati,
11   475 U.S. 469, 482-83 (1986).
12        Plaintiff’s allegations relating to DYER’s final policy-
13   making authority include the following circular sentence:
14             The acts and omissions of DEFENDANT DYER, as
               alleged herein, manifested or conformed to
15             official policies, customs, practices, or
               decisions of DEFENDANT FRESNO, in that FRESNO
16             delegated to DYER its policy making authority
               in all matters of employment relations within
17             the DEPARTMENT, and/or DEFENDANT FRESNO, with
               knowledge of the afore said [sic] policies,
18             customs, practices and decisions of DEFENDANT
               DYER, approved, ratified, and adopted said
19             policies, customs, practices and decisions.
20   (Doc. 37, Third Am. Compl. ¶ 54)      This requires defendants to
21   search for the underlying alleged “customs or policies.”           With
22   respect to the CITY’s official administrative leave policy,
23   Plaintiff alleges that “DYER used the aforementioned FRESNO
24   policies in retaliatory fashion to deprive NEVEU of his rights as
25   specifically alleged.”   (Id.)
26        Defendants are left to infer that Plaintiff was deprived of
27   his first amendment constitutional rights by DYER’s alleged
28   discriminatory placement of Plaintiff on administrative leave,

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 1   which became the CITY’s policy because it was implemented by a
 2   department head with policy-making authority.        Plaintiff alleges
 3   that two officers in addition to DYER are responsible for having
 4   placed Plaintiff on administrative leave, including ENMARK (the
 5   deputy chief) and GUTHRIE (a lieutenant).      (Doc. 37, Third Am.
 6   Compl. ¶ 45)
 7        Plaintiff also argues that he states a Monell claim under
 8   the variation, i.e., based on delegation of authority.          Plaintiff
 9   alleges that the CITY delegated authority to DYER; but offers no
10   explanation how this is distinguishable from the allegation that
11   DYER had final policymaking authority for the CITY.          The third
12   variation of a Monell claim involves the situation where final
13   decision-making authority was delegated to subordinates.           See
14   Menotti, 409 F.3d at 1147.    Plaintiff’s complaint contains no
15   allegations that DYER delegated final decision-making authority
16   to a subordinate.    Plaintiff’s complaint does not state a Monell
17   claim in the third way.
18        Defendants’ motion to dismiss Plaintiff’s Monell claim
19   against the CITY is DENIED.
20
21        B.     Whether Plaintiff States a Claim under Cal. Labor Code
                 § 1102.5.
22
23        Plaintiff’s retaliation claim under Cal. Labor Code § 1102.5
24   was dismissed for lack of jurisdiction on the basis that
25   Plaintiff failed to allege that he exhausted available
26   administrative remedies, included but not limited to filing a
27   complaint with the Labor Commissioner.      (Doc. 35, July 2005 Order
28   33-35)    Plaintiff’s Third Amended Complaint contains a claim

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 1   under Cal. Labor Code § 1102.5.    Defendants argue that their
 2   motion to dismiss Plaintiff’s § 1102.5 claim was granted without
 3   leave to amend, and that Plaintiff brings this claim again in
 4   violation of a previous court order.
 5         Plaintiff argues that the court’s order was ambiguous as to
 6   whether leave to amend was allowed.     Defendants are correct in
 7   that the July 2005 Order did not grant Plaintiff leave to amend.
 8   Nevertheless, Plaintiff’s opposition will be construed as a
 9   request for leave to amend this claim.
10         Plaintiff argues in his opposition that “this Court
11   misapplied the ruling in Campbell v. Regents of the Univ. of
12   Cal., 35 Cal. 4th 311 (2005).    Plaintiff misinterprets the
13   court’s previous holding.     The July 2005 Order stated “Plaintiff
14   does not allege that he exhausted available administrative
15   remedies, including bringing a complaint before the Labor
16   Commissioner, before bringing suit.”        (Doc. 35, July 2005 Order
17   35)   Campbell held, among other things, that despite § 1102.5's
18   silence on the issue whether a claimant must exhaust
19   administrative remedies before filing suit, California’s
20   administrative exhaustion requirement nevertheless applies.             35
21   Cal. 4th at 329-30.   Plaintiff’s Second Amended Complaint did not
22   allege that he exhausted any administrative remedies as to
23   § 1102.5, including filing a claim with the Labor Commissioner,
24   which is a remedy that is expressly available under Cal. Labor
25   Code § 98.7.2   (See Doc. 23, Second Am. Compl. ¶¶ 55-58)
26
           2
27          Plaintiff’s argument that there is no procedure in place
     in the Labor Commissioner’s office to file such claims is
28   irrelevant. The phone call placed by Plaintiff’s counsel to the

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 1        Plaintiff’s Third Amended Complaint does contain an
 2   allegation that he exhausted all available administrative
 3   remedies.   While Plaintiff does not allege he filed a claim with
 4   the Labor Commissioner, he does allege he filed a tort claim
 5   pursuant to Cal. Govt. Code §§ 910, et seq.        Furthermore, he
 6   alleges that the CITY has no internal administrative remedies
 7   available that cover claims for retaliation under § 1102.5 and
 8   that filing a government tort claim did exhaust all available
 9   administrative remedies.      (Doc. 37, Third Am. Compl. ¶ 58)
10        While Defendant is technically correct that Plaintiff was
11   not granted leave to amend its § 1102.5 claim to allege
12   compliance with the exhaustion requirement, a policy underlying
13   federal civil procedure is that, absence prejudice to the
14   Defendant, leave to amend should be freely granted.           Fed. R. Civ.
15   P. 15(a) (“leave to amend shall be freely given when justice so
16   requires”); see also Eminence Capital, LLC v. Aspeon, Inc., 316
17   F.3d 1048, 1051-52 (9th Cir. 2003).      Plaintiff is therefore
18   granted LEAVE TO AMEND his § 1102.5 claim.        Whether Plaintiff’s
19   allegation that there were no adequate administrative remedies
20   for § 1102.5 claims (including but not limited to the practical
21   unavailability of filing a claim with the Labor Commissioner) is
22   a question of fact for the fact-finder.       At the pleading stage,
23
24   Labor Commissioner’s office is not properly judicially noticeable
     under Federal Rule of Evidence 201. Whether a phone call took
25   place and the substance of the phone call consists of the
26   personal knowledge of counsel. Such evidence is not “generally
     known within the territorial jurisdiction” of this court, and is
27   also not “capable of accurate and ready determination by resort
     to sources whose accuracy cannot be reasonably questioned,”
28   either of which are required by FRE 201.

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 1   Plaintiff’s allegation that there were no adequate internal
 2   administrative remedies and that he exhausted the only available
 3   administrative remedy (i.e., the filing of a government tort
 4   claim), is sufficient to survive a motion to dismiss.
 5   Defendants’ motion to dismiss Plaintiffs’ § 1102.5 claim is
 6   DENIED.
 7
 8        C.   Whether Plaintiff States a Claim Under Cal. Govt. Code
               § 53298.
 9
10        Defendants argue that Plaintiff fails to state a claim
11   against GARNER, FIFIELD, and WEST under Cal. Govt. Code § 53298.
12   Plaintiff does not address this argument in his opposition.           At
13   oral argument, Plaintiff’s counsel acknowledged this claim should
14   be dismissed.   Cal. Gov. Code § 53298(a) establishes liability
15   for any local agency officer, manager, or supervisor who
16   retaliates against any employee for filing a complaint with the
17   local agency reporting “gross mismanagement, a significant waste
18   of funds, an abuse of authority, or a specific and substantial
19   danger to public health or safety.”     Cal. Gov. Code §§ 53298(a),
20   53296(c); see also LeVine, 90 Cal. App. 4th at 212 (discussing
21   § 53298 in dicta).   The written complaints that are the basis of
22   Plaintiff’s § 53298 claim are (1) written report(s) of sexual
23   molestation by a former police officer; and (2) written report(s)
24   of racial harassment.   (Doc. 37, Third Am. Compl. ¶ 60)         The only
25   act of retaliation alleged in Plaintiff’s § 53298 claim is
26   placing Plaintiff on administrative leave.       (See id.)     Defendants
27   argue that Plaintiffs’ § 53298 claim should be dismissed as to
28   WEST, FIFIELD, and GARNER, since they are only alleged to have

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 1   played a role in the failure to promote Plaintiff and are not
 2   alleged to have had a role in placing Plaintiff on administrative
 3   leave.    Plaintiff does not dispute this argument.           Defendants’
 4   motion to dismiss Plaintiff’s § 1102.5 claim as to WEST, FIFIELD,
 5   and GARNER is GRANTED.
 6
 7        D.     Defendants’ Rule 12(f) Motion to Strike.
 8        Fed. R. Civ. P. 12(f) provides that “redundant, immaterial,
 9   impertinent, or scandalous matters” may be “stricken from any
10   pleading.”    Fed. R. Civ. P. 12(f).     “[M]otions to strike should
11   not be granted unless it is clear that the matter to be stricken
12   could have no possible bearing on the subject matter of the
13   litigation.”    Colaprico v. Sun Microsystems, Inc., 758 F. Supp.
14   1335, 1339 (N.D. Cal. 1991) (citation omitted).         Defendants argue
15   that several allegations should be stricken from the Third
16   Amended Complaint.
17        First, Defendants’ motion to strike the allegations in
18   paragraph 44 that the statute of limitations is tolled based upon
19   the continuing violations doctrine is GRANTED.         Plaintiff’s
20   argument based on the tolling of the statute of limitations based
21   on the continuing violations doctrine was rejected.             (Doc. 35,
22   July 2005 Order 21-25)
23        Second, Defendants’ motion to strike the allegation in
24   paragraph 54 (18:11) that Defendants violated Plaintiff’s
25   Fourteenth Amendment rights is GRANTED.       Any claim based upon an
26   alleged violation of Plaintiff’s Fourteenth Amendment rights has
27   been dismissed.    (Id. at 32-33)
28        Third, Defendants’ motion to strike Plaintiff’s § 1102.5

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 1   claim in paragraphs 55-58 is MOOT, as Defendants’ motion to
 2   dismiss Plaintiff’s § 1102.5 claim is denied.
 3
 4                               VI.     CONCLUSION
 5
 6         For all the foregoing reasons Defendants’:
 7   (1)   motion to dismiss Plaintiff’s 42 U.S.C. § 1983 claim against
 8         the CITY is DENIED;
 9   (2)   motion to dismiss Plaintiff’s Cal. Labor Code § 1102.5 claim
10         is GRANTED WITH LEAVE TO AMEND;
11   (3)   motion to dismiss Plaintiff’s Cal. Govt. Code § 53298 claim
12         as to WEST, FIFIELD, and GARNER is GRANTED;
13   (4)   Rule 12(e) motion for a more definite statement is MOOT;
14   (5)   Rule 12(f) motion to strike is GRANTED as to the allegations
15         in paragraphs 44 and 54 (18:11), and is DENIED as to all
16         other allegations.
17         Any amended complaint shall be filed within 20 days from
18   service of this order.
19
20   SO ORDERED.
     DATED: October 12, 2005.
21
                                                  /s/ Oliver W. Wanger
22                                             ______________________________
                                                      Oliver W. Wanger
23                                             UNITED STATES DISTRICT JUDGE
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